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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


MARVEL CHARACTERS, INC.,                       Case No.: 1:21-cv-7955-LAK
                                               and consolidated cases
Plaintiff and Counterclaim-Defendant,          21-cv-7957-LAK and 21-cv-7959-LAK

v.                                  Hon. Lewis Hon. Lewis A. Kaplan

LAWRENCE D. LIEBER,                            NOTICE OF MOTION FOR SUMMARY
                                               JUDGMENT
Defendant and Counterclaimant.
                                               Oral Argument Requested

MARVEL CHARACTERS, INC.,

Plaintiff and Counterclaim-Defendant,

v.

KEITH A. DETTWILER, in his capacity as
Executor of the Estate of Donald L. Heck,

Defendant and Counterclaimant.


MARVEL CHARACTERS, INC.,

Plaintiff and Counterclaim-Defendant,

v.

PATRICK S. DITKO, in his capacity as
Administrator of the Estate of Stephen J.
Ditko,

Defendant and Counterclaimant.
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       PLEASE TAKE NOTICE that upon the attached Memorandum of Law in Support of

Marvel Characters, Inc.’s Motion for Summary Judgment and Local Rule 56.1 Statement of

Material Facts As To Which There Is No Genuine Issue To Be Tried, and the accompanying

declarations of Molly M. Lens, Eli Bard, and Roy Thomas, and the exhibits to each, Plaintiff and

Counterclaim-Defendant Marvel Characters, Inc. hereby moves the Court, before the Honorable

Lewis A. Kaplan, United States District Judge, United States District Court for the Southern

District of New York, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,

New York, NY, for an Order pursuant to Rule 56 of the Federal Rules of Civil Procedure granting

summary judgment in its favor as to the Complaint and the Counterclaim in their entirety, and for

such other and further relief as this Court may deem just and proper.

Dated: May 19, 2023                               O’MELVENY & MYERS LLP

                                                  By:       /s/ Daniel M. Petrocelli
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